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                       UNITED STATES DISTRICT COURT
                   EASTERN DISTRICT OF MICHIGAN (DETROIT)

The Huntington National Bank,
a national banking association,

      Plaintiff,

VS                                      Case No. 2:19-cv-10511-MOB-RSW
                                        Hon. Marianne O. Battani
                                        Mag. Judge R. Steven Whalen

Elliott Investment Co. Inc.,
a Michigan corporation,

      Defendant.




                        ACCEPTANCE OF RECEIVERSHIP
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                        UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN (DETROIT)

 The Huntington National Bank,
 a national banking association,

       Plaintiff,

 VS                                       Case No.2:19-cv-10511-MOB-RSW
                                          Hon. Marianne O. Battani
                                          Mag.Judge R.Steven Whalen

 Elliott Investment Co.Inc.,
 a Michigan corporation,

       Defendant.


                        ORDER GRANTING PLAINTIFFS
                    MOTION FOR APPOINTMENT OF RECEIVER

      A.     The Huntington National Bank("Huntington")filed a motion for

the appointment of a receiver(Docket No. )over the Mortgaged Property

defined below, which asserted the breach by Elliott Investment Co. Inc.

("Elliott") of its obligations under an amended and restated promissory note

(the "Note)and forbearance extension agreement, each executed on October

1, 2018, but effective as of September 10,2018(the "Forbearance

Agreement").

      B.     Repayment of the Note is secured by a Mortgage executed by

Elliott(the "Mortgage")in favor of Huntington dated April 25,2007,
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 encumbering real property commonly known as 6600 Mt. Elliott Avenue,

 Detroit, Michigan (the "Mortgaged Property"), which was recorded by the

 Wayne County Register of Deeds on May 4,2007 in Liber 46269,Page 147,

 and by a lien upon all ofthe equipment and personal property related to the

 Mortgaged Property(the "Collateral").

       C.    Under its terms, Elliott agreed to repay the Note on or before

 January 10,2019,but failed to do so.

       D.    Under the terms of the Forbearance Agreement, Elliott agreed to

 the appointment of a receiver for the Mortgaged Property and the Collateral,

 with the power to market and sell same,upon the occurrence of an Event of

 Default(as defined in the Forbearance Agreement).

       The Court has reviewed the pleadings,is otherwise fully informed in the

 premises, and believes that good cause exists for granting the relief sought,

 and that the Receivership Order should be modified to read as provided

 herein.

IT IS ORDERED:

       1.    Appointment of Receiver.. M.Shapiro Management Company

LLC, by its authorized agent, Mark Kassab, whose address is 31550

Northwestern Highway,Suite 220,Farmington Hills, Michigan 48334(the

"Receive),is appointed as receiver for the Mortgaged Property,the


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 Collateral, and all payments,leases, rents, books and records, deposits, bank

 accounts and other personal property,tangible or intangible,that is used or

 usable or related thereto (collectively,the "Receivership Property).

       2.    Possession and Control of Receivership Property. The

 Receiver is authorized to immediately take possession and control ofthe

 Receivership Property, and to manage,recommend and consummate the sale

 of same (subject to the approval ofthe Court),as the Receiver deems

 appropriate,and to otherwise exercise the powers and duties set forth in this

 Order. The Receiver is authorized to remove any officer, owner, manager,

 director, trustee, beneficiary, representative or agent of Elliott from control

 and/or management ofthe affairs ofthe Receivership Property.

       3.    Actions in Furtherance ofPossession and Control. The

 Receiver is authorized to take any reasonable actions which the Receiver shall

deem necessary or appropriate to take possession of, to exercise full control

over,to prevent waste and to otherwise preserve, manage, maintain,secure

and safeguard the Receivership Property.

      4.     Surrender of Receivership Property. Elliott, its employees,

agents, officers, managers and directors are directed to surrender all ofthe

following relating to the Receivership Property to the Receiver,to the extent

that they are in their possession, custody and control:


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            a.   All keys and access codes necessary for the Receiver to
                 obtain possession of and to manage the Receivership
                 Property,as provided in this Order.

            b.   All documents and records useful in maintenance relating to
                 the Mortgaged Property and the Collateral,including but
                 not limited to, as applicable, building permits, plumbing and
                 HVAC drawings,soil borings reports,surveys,
                 environmental reports, architectural or design diagrams
                 and building specifications.

            c.   All work in process, materials,supplies,"punch lists" and
                 other pending work orders with respect to construction at
                 the Mortgaged Property,if any.

            d.   All construction contracts and subcontracts for construction
                 on the Mortgaged Property,if any.

            e.   All bids for contractor work,if any.

            f.   All agreements with brokers or other commission
                 agreements pertaining to sales or leases ofthe Mortgaged
                 Property, or any portion thereof.

            g.   All leases and other executory contracts,including all
                 amendments, pertaining to the Mortgaged Property or other
                 Receivership Property, or any portion thereof.

            h.   All documents, books,records,computer files and records
                 concerning the finances, rents, operation and management
                 of the Receivership Property.

           i.    A list of all accounts receivable and accounts payable,and
                 all details regarding same.

           J.    All documents identifying pending litigation and insurance
                 claims.

           k.    All utility agreements.


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             1.    Such other records pertaining to the Receivership Property
                   as may be reasonably requested by the Receiver.

             m.    All cash and deposits owned by or in the possession ofthe
                   any of the Defendants pertaining to the Mortgaged Property
                   and the Collateral.

             n.    All documentation pertaining to contracts entered into by
                   any of the Defendants relating to their business operations,
                   the Mortgaged Property, and the Collateral.

       5.    Powers and Duties of Receiver. The Receiver shall be vested

 with and shall discharge the following authority, powers and duties:

             a.   The maintenance,securing, management,operation,leasing
                  (upon terms acceptable to Huntington)and preservation of
                  the Receivership Property.

             b.   The assumption of control over the Receivership Property,
                  including all deposits,security deposits,and other cash
                  collateral relating thereto.

            c.    The maintenance of one or more separate accounts,in the
                  Receiver's own name,as Receiver for the Mortgaged
                  Property and the Collateral,from which the Receiver shall
                  disburse all authorized payments,as provided in this Order.

            d.    The preparation and maintenance of books,records and
                  financial reports ofthe Receivership Property,including but
                  not limited to operating and income statements,balance
                  sheets, and all other statements prepared for the
                  Receivership Property,and provide copies ofthem to the
                  parties to this action,through their counsel.

            e.    The purchase ofsuch insurance as the Receiver deems
                  appropriate for the preservation and protection ofthe
                  Receivership Property, naming the Receiver and Huntington


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                   as additional insureds, or as necessary to protect their
                   interests.

             f.    The receipt and endorsement of checks pertaining to the
                   Receivership Property, either in the name of the Receiver or
                   in the name of Elliott, as applicable.

                   The payment of all real estate and personal property taxes,
                   and any other taxes or assessments against the
                   Receivership Property, during the period of the
                   receivership.

             h.    Taking such action,including pursuing insurance claims,
                   and/or the filing of one or more lawsuits as the Receiver
                   shall deem necessary and appropriate,in the Receiver's
                   discretion,for the collection ofany outstanding accounts
                   receivable or other monies owed to Elliott.

             i.    The investigation of any fraudulent or otherwise improper
                   transfers or conveyances of the assets of Elliott as the
                   Receiver shall deem necessary and appropriate,and,if
                   necessary,the prosecution of any action to set such
                   transaction(s) aside.

                   Prevent the withdrawal or misapplication offunds.

             k.    Issue such subpoenas as deemed necessary to allow the
                   Receiver to fulfill the duties set forth in this Order.

      Notwithstanding anything to the contrary contained in this Order,the

Receiver shall not have the authority to file a petition for relief under the

Bankruptcy Code for Elliott.

      6.    Access to Books and Records. The Receiver shall permit

Huntington and its agents and counsel access to the Receivership Property at



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  all reasonable times,to inspect the Receivership Property and the book
                                                                               s and
  records of Elliott.

        7.    Employment of Third Parties. The Receiver is authorized, but

  not required to, all without recourse against the Receiver,to employ
                                                                           such
 attorneys, accountants,appraisers,agents and others,as the Receiver
                                                                            may
 from time to time deem appropriate.

        8.    Borrowing ofFunds. Subject to the approval of the Court,

 without affecting the rights ofthe parties relating to the underlyi
                                                                       ng Note, the
 Receiver is authorized, but not required,to borrow funds from
                                                                     Huntington for
 approved purposes,if necessary, upon terms and conditions agre
                                                                       eable to
 Huntington and the Receiver. Upon receipt of the approval of
                                                              the Court        ,the
 Receiver shall be authorized to execute all promissory notes
                                                                  ,loan agreements,
 Receiver's certificates, and amendments thereto, as shall
                                                               be necessary to
 accomplish same.

       9.    Exercise ofPowers Available Under Applicable Law.
                                                                          Without
limiting or expanding the foregoing,the Receiver is
                                                         authorized to exercise all
powers generally available under federal law or the
                                                         laws ofthe State of
Michigan, which may be incidental to the powers
                                                    described in this Order,and
to act on behalf of and in the name of Elliott in such
                                                         manner as the Receiver
shall deem appropriate.


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       10.      Further Instructions. The Receiver shall have the right to apply

 to the Court for further instructions and authorization during the pendency of

 this action.

       11.      Protective Advances. Subject to the order of the Court, all

 advances to the Receiver made by Huntington for the benefit ofthe

 Receivership Property,together with any other costs and expenses incurred

 by the Receiver pursuant to this Order,shall be deemed to be protective

 advances pursuant to the Note,and shall be secured by the Mortgage,and

 shall have priority over all claims and liens of all others claiming an interest in

 any of the Receivership Property.

       12.      No Transfer of Title. Nothing contained in this Order shall be

 construed to transfer title to any of the Receivership Property to the Receiver.

       1.3.     Sale ofthe Mortgaged Property. The Receiver is authorized to,

on behalf and in the name of Elliott, expeditiously and diligently sell the

Mortgaged Property and the Collateral, with the approval ofthe Court,

consistent with the provisions of 28 U.S.C. §2001(a), under the following

conditions:

                a.   The sale shall be for cash, unless otherwise authorized by
                     the Court,for amounts subject to the approval of the Court.

                b.   The sale, approved by the Court, shall be free and clear of all
                     mortgage interests,security interests and other liens, as


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                   applicable, which may be transferred to the net proceeds of
                   sales. No person or entity shall have any redemption rights
                   with respect to any sale effectuated by the Receiver,and
                   each sale shall be final upon entry of an Order of the Court
                   confirming same.

       14.   Execution ofSale Related Documents. In connection with the

 sale of any ofthe Receivership Property approved by the Court,the Receiver is

 authorized,in the name of Elliott, to:

             a.    Execute a deed of conveyance and bill of sale.

             b.    Attend and consummate the closing at the office of any title
                   company acceptable to the Receiver and Huntington (the
                   "Title Company).

             c.    Approve,with Huntington,the closing statement with
                   respect to the sale ofthe Mortgaged Property and the
                   Collateral, including all costs of closing, sales commissions,
                   and other adjustments to the purchase price(s), as
                   applicable.

             d.    Obtain all mortgage and construction lien waivers, quit
                   claim deeds,and such other documents as are reasonably
                   requested by the Title Company or the Receiver to
                   effectuate the sale ofthe Mortgaged Property and the
                   Collateral, and to allow the issuance ofthe appropriate
                   owner's policies of title insurance to the purchasers.

       15.   Disbursement of Net Sale Proceeds. The net proceeds of sale"

 shall be deemed to be the gross sale price of the Mortgaged Property and the

 Collateral,less closing costs,sales commissions,any outstanding or projected

 expenses ofthe receivership estate, and other adjustments approved by the



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  Court. The Receiver shall promptly pay into the Court any surplus proceeds,

  and shall be permitted to otherwise disburse the net proceeds of sale,

  consistent with the respective lien priorities, but only upon the agreement of

  the parties or the further Order ofthe Court. "Surplus proceeds" shall be

  deemed to be the "net proceeds ofthe sale'', less the amounts necessary to

  satisfy the claim of Huntington and any other valid secured claim of record.

        16.   Lien Priorities. The rights and priorities of Huntington and any

  other parties with respect to the Receivership Property shall be determined in

 accordance with applicable federal or Michigan law,and in conjunction with

 the provisions ofthis Order.

       17.    No Waiver of Claims and Defenses. Nothing contained in this

 Order shall enlarge or restrict the claims and defenses of Huntington or other

 parties claiming an interest, with respect to the Receivership Property.

       18.    Compensation of Receiver and Agents. The Receiver and all

 persons employed by and/or whose services are utilized by the Receiver,shall

 be compensated at their normal rates, with invoices to be issued and copies

 furnished to the parties to this action,through their respective counsel, on
                                                                                a
 monthly basis. The Receiver's general office administration, accounting
                                                                            and
 overhead shall not be charged against the income generated by the

 Receivership Property. The Receiver and the Receiver's counsel may receive


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 payment on a monthly basis, without further Court order, provided no

 objections are filed with the Receiver or the Receiver's counsel, as the case

 may be, within seven (7) days after such invoices are mailed or electronically

 transmitted to the parties to this action,through their respective counsel. In

 the event any objections are timely filed,the Receiver or any other party may

 file a motion with the Court to determine the propriety of the fees sought or of

 any objections. The Receiver shall be reimbursed for any reasonable out of

 pocket expenses incurred during the period ofthe receivership concerning the

 obligations and duties set forth in this Order. The compensation paid to the

 Receiver and any professionals employed by the Receiver shall be paid first

 from the income generated from the Receivership Property and, next, by

 Huntington,but only to the extent that the income from the Receivership

 Property is insufficient to pay the Receiver and the compensation ofthe

 professionals employed by the Receiver.

       19.   Receiver's Reports, The Receiver shall furnish to the Court and

 to all parties,through their respective counsel, monthly reports and

 statements accounting for all receipts and disbursements. The reports served

 upon counsel shall be submitted to the Court upon agreement ofthe parties or

 if a dispute arises for its review in camera,and shall not be filed with the Clerk

 ofthe Court.


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       20.   Receiver's Bond. The Receiver shall post a surety bond in an

 amount of not less than $10,000.00. The cost ofthe bond shall be an expense

 ofthe receivership,for which the Receiver shall be reimbursed in accordance

 with the terms ofthis Order.

       21.   Lawsuits against Receiver. No person or entity shall file suit

 against the Receiver, or take other action against the Receiver, without an

 Order ofthe Court permitting the suit or action. Notwithstanding the

 foregoing, nothing in this Order shall serve to stay or otherwise enjoin any

 pending action to enforce lien rights, including but not limited to the

 foreclosure of mortgages encumbering property owned by Elliott.

       22.   Pre-Receivership Liabilities. Huntington,the Receiver and the

 Receiver's agents shall not be liable for any claim, obligation,liability, action,

 cause of action, cost or expense of Elliott, its business operations, or the

 Receivership Property,arising out of or relating to events or circumstances

 occurring prior to the entry ofthis Order,including without limitation, any

 contingent or unliquidated obligations and any liability from the performance

 of services rendered by third parties for the benefit or on the behalf of Elliott,

 and any liability to which it is currently or may ultimately be exposed under

 any applicable laws pertaining to the ownership, use or operation ofthe

 Receivership Property and operation of Elliott's business (collectively all of


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 the foregoing is referred to as "Pre-Receivership Liabilities"). Huntington,the

 Receiver, and the Receiver's agents shall not be obligated to advance any

 funds to pay any Pre-Receivership Liabilities. Notwithstanding the foregoing,

 with the prior written consent of Huntington (but not otherwise),the Receiver

 may fund Pre-Receivership Liabilities from funds collected from the operation

 ofthe Receivership Property.

       23.    Stay ofActions. Except by leave ofthis Court and except with

 respect to the right of Huntington to foreclose the Mortgage, or to otherwise

 take any enforcement action against the Receivership Property and the

 Collateral during the pendency ofthe receivership,any and all persons,

 creditors and entities are stayed from taking any action to establish or enforce

 any claim, right or interest for, against, on behalf of, in, or in the name of

 Elliott, the Receiver,the Receivership Property,the Collateral, or the

 Receiver's duly authorized agents acting in their capacities as such,including

 but not limited to, the following actions:

             a.     Commencing, prosecuting,litigating or enforcing suit,
                    except that the actions may be filed to toll any applicable
                    statute oflimitations;

             b.     Accelerating the due date of any obligation or claimed
                    obligation, enforcing any lien upon,or taking or attempting
                    to take possession of, or retaining possession of, property of
                    Elliott that relates in any way to the Receivership Property,
                    or attempting to foreclose,forfeit, alter or terminate the


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                    interests of Elliott in the Receivership Property, whether
                    such acts are part of a judicial proceeding or otherwise;

              c.   Using self-help or executing or issuing, or causing the
                   execution or issuance of any court attachment,subpoena,
                   replevin, execution or other process for the purpose of
                   impounding or taking possession of or interfering with, or
                   creating or enforcing a lien upon the Receivership Property;
                   and,
             d.    Doing any act or thing to interfere with the Receiver taking
                   control, possession or management ofthe Receivership
                   Property, or to in any way interfere with the Receiver or the
                   duties ofthe Receiver or his agents; or to interfere with the
                   exclusive jurisdiction of this Court over the Receivership
                   Property.
 This paragraph does not stay the commencement or continuation of an action

 or proceeding by a governmental unit to enforce such governmental unit's

 police or regulatory power.

       24.   No Personal Liability of Receiver. The Receiver and the

 Receiver's employees,agents and attorneys shall have no personal liability
                                                                                    in
 connection with any obligations, liens or amounts owed to Elliott resultin
                                                                                g
 from the performance oftheir duties pursuant to this Order,it being

 understood that the rights of each such creditor shall be determined in

 accordance with applicable law.

      25.    Breaches by Receiver. The Receiver and the Receiver's

employees,agents and attorneys shall have no personal liability, and
                                                                        they
shall have no claim asserted against them relating to the Receiver's
                                                                       duties

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 under this Order, except for those arising from intentional tortious acts,

 breaches offiduciary duties, acts committed in bad faith, gross negligence,

 gross or willful misconduct, malicious acts, or the failure to comply with this

 Order or any other Order ofthe Court.

       26.   Interference with Receiver's Duties. The parties to this action,

 those in active participation or concert with them who receive notice of his

 Order,and those having claims against the Receivership Property who receive

 notice of this Order, are enjoined from interfering with the Receiver's actions

 in furtherance of performing the duties and carrying out the responsibilities

 outlined in this Order.

       27.   Receiver as Fiduciary. The Receiver shall faithfully discharge all

 ofthe duties outlined in this Order,and shall obey all other Orders ofthe

 Court. The Receiver shall be deemed a fiduciary for the benefit of all persons

 having or claiming an interest in the Receivership Property,and shall exercise

 the office accordingly.

       28.   Commercial Reasonableness. The Receiver's actions at all times

 shall be commercially reasonable,and the Receiver is subject to the personal

 jurisdiction ofthe Court.

       29.   Acceptance of Appointment as Receiver. The Receiver's duty to

 act in that capacity is subject to the written acceptance and approval ofthe


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 terms ofthis Order. Upon acceptance,the Receiver shall be bound by the

 terms of this Order,and all obligations imposed hereby.

        30.   Duration of Receivership. This receivership shall continue until

 the earlier of: (i) the sale of all Receivership Property; or,(ii) the further Order

 of the Court.

       31.    Discharge of Bond. The termination ofthe receivership will not

 discharge the Receiver or the Receiver's bond.

       32.    Resignation of Receiver. In the discretion ofthe Receiver, the

 Receiver may notify the Court and the parties that the receivership is no

 longer practical. Upon such event,the Receiver's duties shall terminate thirty

 (30) days after filing the notice with the Court,followed by an Order ofthe

 Court terminating the receivership.

       33.    Removal of Receiver. The Receiver may be removed either:(i)

 thirty(30) days after filing of a written demand for removal signed by

 Huntington's counsel,and filed with the Court; or,(ii) in the Court's equitable

 discretion, upon a motion for cause. If the Receiver is removed,a successor

 receiver can be appointed by an order stipulated upon by the parties to this

 action. If the parties to this action are unable to agree upon a successor

 receiver, one shall be appointed by the Court, after a motion is filed by any

 party to this action requesting the appointment of same.


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        34.    Final Accounting. Within thirty(30)days after the termination

  of the receivership for any reason,the Receiver shall submit a final accounting

  for approval by the Court, with copies to be furnished to the parties to this

  action.

        35.    Court Approval of Final Accounting. Upon the Court's approval

  of the Receiver's final accounting,the Receiver shall be discharged, and the

  Receiver's bond canceled.

        36.   Tax Returns. The Receiver and the professionals employed by

 the Receiver shall not be responsible or required to, and shall not, prepare or

 file tax returns in connection with the Receivership Property or Elliott, or

 otherwise wind down the business affairs of the Receivership Property or of

 Elliott.

       37.    Lien Enforcement and Foreclosure Rights. Nothing in this

 Order shall be construed to affect the rights of parties who have been grante
                                                                                  d
 mortgages or other liens upon property owned by Elliott, including the right

 to commence or continue foreclosure proceedings, either judicially or
                                                                         by
 advertisement. No further order of the Court is necessary for a mortga
                                                                        gee or
 lien claimant to commence a foreclosure,either judicially or by
                                                                   advertisement.
       38.    Amendment of Order. This Order may be amended for cause,

 either upon the stipulation ofthe Receiver and the parties, or for cause,
                                                                             after a

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 motion and hearing. No amendment to this Order shall affect the rights of

 persons or entities who are able to demonstrate that they relied upon the pre-

 existing terms ofthis Order to their detriment.

       39.   No Prejudice. This Order shall not prejudice the rights of any

 party to any claim,right or defense which they may have to Huntington's

 claims set forth in the Complaint.

       40.   Environmental Compliance. The Court finds that, Huntington,

 in seeking the appointment ofthe Receiver,is engaged in a "workout activity,"

 as that term is defined in M.C.L.§324.20101a(3),and its actions in seeking the

 appointment of a Receiver are intended to protect the value and marketability

 of the Mortgaged Property, which is its collateral for repayment of the

 indebtedness described above. The Court further finds that Huntington's

 actions taken in seeking the appointment ofthe Receiver do not constitute

 participation in management,as that term is defined in 42 U.S.C.

 §9601(a)(20).

       41.   Utilities. Any utility provider receiving notice ofthis Order shall

 establish and provide utility service to the Mortgaged Property,in the name of

 the Receiver.

      42.    No Assumption of Contracts. Notwithstanding anything to the

 contrary contained in this Order,the Receiver shall not be required to


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  perform under,and may reject and otherwise terminate, any contract,

  document,lease, purchase order, statement of work or any other instrument

  entered into or accepted by Elliott prior to the date of entry of this Order. As

  such,the Receiver is not automatically bound by, nor deemed to assume, the

  contractual obligations of Elliott prior to the appointment of the Receiver,and

  unless the Receiver has affirmatively elected to assume any such contract,

  document,lease, purchase order,statement of work or any other instrument

  entered into or accepted by Elliott prior to the date of entry ofthis Order, the

  Receiver shall not be bound by or deemed to have assumed same,nor shall

 the Receiver or the receivership estate have any liability or obligation under

 or with respect to same,and the decision to affirmatively elect to
                                                                      assume any
 such contract, document,lease, purchase order,statement of work
                                                                       or any
 other instrument,is within the Receiver's sole discretion.

 Date: April 5, 201.9                              s/Marianne O. Battani
                                                   MARIANNE O. BATTANI
                                                   United States District Judge




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 Approved as to form:

 Plunkett Cooney

 By:/s/Douglas C. Bernstein
 Douglas C. Bernstein (P33833)
 Attorneys for Plaintiff

 Grand & Grand PLLC

 By:/s/Joel E. Grand
 Joel E. Grand (P51261)
 Attorneys for Elliott




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                       ACCEPTANCE OF RECEIVERSHIP

       The duties ofthe Receiver, as set forth in the foregoing Order, are

  accepted and agreed to.

                                      M.Shapir 4   an.:emen

                                     By:

                                     Printed name: Z,- effd:017

                                     I


 Drafted by and when recorded,return to:
 Douglas C. Bernstein
 Plunkett Cooney
 38505 Woodward Avenue,Suite 100
 Bloomfield Hills, MI 48304




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                                 EXHIBIT 1
                             LEGAL DESCRIPTION

             Land in the City of Detroit, County of Wayne,State of
             Michigan described as:

             Parcel 1:

             All that part of Lots 28 and 29 ofthe plat and survey by
             commissioners in partition in the Estate of John Strong,
             deceased of the North 1/2 of Section 28 and the Northeast
             fractional Section 29,Town I. South,Range 12 East,
             according to the plat thereof as recorded in Liber 243 of
             Deeds,Page 517,Wayne County Records, described as
             follows: Beginning at the Southwesterly corner of Lot 29 of
             Strong Estate, which point is the intersection ofthe Easterly
             line of Mt. Elliott Avenue with the East and West%line of
             said fractional Section 28, which line is also the Northerly
             line ofthe Michigan Central Railroad Right-of-Way;thence
             along the Easterly line of Mt. Elliott Avenue, North 28
             degrees 14 minutes West 500.00 feet, more or less,to the
             Southerly line of Lot 30 ofsaid Strong Estate; thence North
            88 degrees 38 minutes 12 seconds East 681.55 feet, more or
            less, along the Southerly line of said Lot 30 to a point on the
            Westerly line ofthe Michigan Central Railroad spur Right-
            of-Way;thence Southerly along the Westerly line ofthe
            Michigan Central Railroad spur Right-of-Way on a curve to
            the left,a distance of 515.58 feet, radius of said curve being
            603.69 feet,long chord ofsaid curve bears South 28 degrees
            48 minutes 34 seconds East 500.06 feet to a point in the
            Southerly line of Lot 28 ofsaid subdivision ofthe Strong
            Estate, which line is also the East and West 1/ 4 line ofsaid
            fractional Section 28;thence along the South line of Lots 28
            and 29,South 88 degrees 27 minutes West 686.05 feet to
            the point of beginning.




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                    Parcel 2:

                   Lot 30 of the plat and survey ofthe North I/2 of Section 28
                   and the Northeast fractional Section 29,Town 1 South,
                   Range 12 East, according to the plat thereof as recorded in
                   Liber 243 of Deeds,Page 517,Wayne County Records,
                   EXCEPT a strip of land 30 feet in width offthe rear ofthe
                   Northeasterly portion of and adjoining the Northeasterly
                   boundary ofsaid Lot 30 and extending from Strong Avenue
                   across said Lot 30 a distance of440 feet.

                   Tax Item No.014140,Ward 15

  Open.01491.21211.21754895-1




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